     Case: 1:20-cv-03529 Document #: 17 Filed: 08/03/20 Page 1 of 6 PageID #:41


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DEBORAH LAUFER, Individually,                       )
                                                    )
                                Plaintiff,          )
                                                    )
                                v.                  )           Case No. 20 CV 3529
                                                    )
                                                    )
STANLEY MARK DANIELS d/b/a                          )
THE DANIELS MOTEL,                                  )
                                                    )
                                Defendant.          )

      DEFENDANT’S MOTION TO DISMISS UNDER F.R.C.P. 12 (b)(1) AND (b)(6)

        NOW COMES defendant, Stanley Mark Daniels d/b/a The Daniels Motel (the “Motel”),

by its attorney, Michael W. Huseman of Dreyer, Foote, Streit, Furgason & Slocum, P.A., and for

his Motion to Dismiss Under F.R.C.P. 12 (b)(1) and (b)(6) , hereby states as follows:

                                             Introduction

        In her complaint, plaintiff alleges that she resides in Florida, where she logged on to the

the Motel’s third-party websites. The Motel itself is in LaSalle, Illinois. She further alleges that

she could not find sufficient information on the websites to assess whether the Motel’s physical

facilities could accommodate her disabilities. Absent in this complaint, however, are any

allegations that she ever intended to visit Illinois or to possibly stay at the Motel. Nor are there any

allegations that she ever intends to visit Illinois in the future. Thus, as demonstrated below, she

lacks standing to bring this matter. Specifically, she has not suffered any concrete and personalized

injuries sufficient to confer jurisdiction in Illinois. Furthermore, the complaint fails to state a claim

upon which relief can be granted. She has not alleged, nor can she, that she was ever denied actual

access to the Motel for any reason, let alone, because of her disabilities.




                                              Page 1 of 6
     Case: 1:20-cv-03529 Document #: 17 Filed: 08/03/20 Page 2 of 6 PageID #:42


                                               Background

        As this is a motion to dismiss, the allegations of the complaint are assumed to be true.

Nevertheless, facts that are not pled can be as equally compelling. As pointed out below, those

unpled facts require the dismissal of this case for both grounds asserted in this motion. According

to the complaint, plaintiff lives in Pasco County, Florida and is disabled as defined under the

American with Disabilities Act (“ADA”). Compl., ¶ 1. She has trouble walking and must use either

a cane or a wheelchair to do so. Id. She also has limited use of her hands and is vision impaired.

Id., The Motel is a place of public accommodation located in LaSalle, Illinois. Id. at ¶ 3.

        The Motel’s facilities, according to plaintiff, are required to be ADA compliant, but that is

not the specific issue here. Instead, the issue here is the third-party websites that the Motel uses,

expedia.com, Booking.com and Orbitz.com, to advertise the hotel and to place reservations. Id. at

¶ 10. Plaintiff claims that she has visited these websites before she brought this matter and intends

to revisit them at some point. These websites allegedly have insufficient ADA information for

Plaintiff to determine if the hotel is a place that accommodate her disabilities. Id. Yet, plaintiff has

not pleaded the following. She has not stated that she had any intentions whatsoever to possibly

stay at the Motel or visit LaSalle, Illinois either before or at the time she accessed the third-party

websites. Equally compelling is that she has not alleged that she ever intends to visit LaSalle,

Illinois or may stay at the Motel in the future. Thus, this matter is not about a motel and whether

it can accommodate a person with disabilities. Rather, it is about an individual who commenced

litigation without being harmed because she does not have any desire then, now, or in the future,

to come to Illinois or to stay at the Motel.




                                               Page 2 of 6
           Case: 1:20-cv-03529 Document #: 17 Filed: 08/03/20 Page 3 of 6 PageID #:43


                                                     Argument

      I.        Plaintiff lacks standing.

            Any person who sues in the federal courts must have standing. See e.g., Carello v. Aurora

Policemen Credit Union, 930 F. 3d 830 (7th Cir. 2019). “To establish standing, a ‘plaintiff must

allege an injury in fact that is traceable to the defendant's conduct and redressable by a favorable

judicial decision.’ [citations omitted].” Id. at 833. The Seventh Circuit has explained that the injury

to confer standing must be “both concrete and particularized.” Id. Also, because plaintiff is seeking

injunctive relief, she must demonstrate that she faces a “real and immediate threat of future injury.”

Id. Here, plaintiff claims that the Motel’s use of third-party websites that are non-ADA compliant

infringes upon her right to travel free of discrimination and deprives her of information she

allegedly needs to make meaningful choices to travel. Compl., ¶ 13. She also claims that the non-

compliant websites have caused her humiliation and frustration. Id. But she has not alleged that

she ever intended to visit LaSalle, Illinois or possibly stay at the Motel, either then or now. Nor

does she allege that she ever intends to visit Illinois in the future. In fact, plaintiff has admitted in

her complaint that she is a “tester." 1

            Thus, she has not suffered the type of injury necessary to confer standing according to the

holdings of multiple courts. Hernandez v. Caesars License Co., LLC, 2019 U.S. Dist. LEXIS

172456 (N.J. Dist. 2019); Strojnik v. Kapalua Land Co, 2019 U.S. Dist LEXIS 165525 (Hawaii

2019). See also Harty v. Greenwich Hospitality Group, LLC, 2013 U.S. App. LEXIS 22136 (2nd

Cir. 2013) (Where the Second Circuit stated that the plaintiff lacked standing because he never

intended to return to the city where the hotel was located.); Laufer v. Laxmi & Sons, 2020 U.S.




1
    According to a PACER search, Deborah Laufer has filed at least 235 similar cases nationwide.

                                                    Page 3 of 6
     Case: 1:20-cv-03529 Document #: 17 Filed: 08/03/20 Page 4 of 6 PageID #:44


Dist. LEXIS 79545 (N. D. N.Y. 2020) (Where the district court on its own raised the issue of

standing).

         Plaintiff’s alleged injuries have been characterized by courts as an informational harm from

a lack of access to information. Courts have also labelled her injuries as harm to her dignity as a

disabled person. Carello at 833-34. However, as noted by the Seventh Circuit in Carello, not all

harm to dignity confers standing. “[D]ignitary harm stemming for the mere knowledge that

discriminatory conduct is occurring is an ‘abstract stigmatic injury’ that the plaintiff lacks standing

to vindicate.” Carello at 834. As in Carello, where the plaintiff was only harmed in an abstract

stigmatic manner way because she could never become a member of the credit union, here,

Plaintiff also has suffered only abstract, stigmatic harm --and not a concrete, particularized harm-

- because she never intended to stay at the Motel when she accessed the websites. Nor does she

ever intend to possibly stay at the Motel in the future. Consequently, as further explained in

Carello, in the absence of any personal, concrete impact on Plaintiff, she has no standing. Id. See

also Hernandez, 2019 U.S. Dist. LEXIS, p. 4 (Where the district court held the plaintiff lacked

standing because her alleged harm was not personal to her since she had no intention of ever

staying at the hotel.) Likewise, on the issue of informational harm, Plaintiff has the same problem.

She has only suffered a generalized harm, and not a concrete, particularized harm, because she

never intended to stay at the hotel.

         Finally, her claim for injunctive relief is equally defective on the issue of standing. She has

no immediate, real threat of future harm because she does not intend to ever stay at the hotel in

any event. Accordingly, for all the above reasons, she lacks standing to bring this claim.

   II.       Plaintiff has failed to state a claim upon which relief can be granted.

         The ADA prohibits discrimination based on disability in places of public accommodation.

See Cohan v. Bensenville Hospitality Inc., 2016 U.S. Dist. LEXIS 62207 (N. Dist. Ill). Said


                                              Page 4 of 6
     Case: 1:20-cv-03529 Document #: 17 Filed: 08/03/20 Page 5 of 6 PageID #:45


differently, the ADA requires the hotel to accommodate plaintiff’s disabilities if she desires to stay

there. But she never intends to stay at the hotel, according to her complaint. Moreover, plaintiff

never alleges that the hotel itself is non-ADA compliant. Absent her intentions of ever wanting to

stay at the hotel, plaintiff cannot claim that she has ever been denied actual access to the hotel

because of her disabilities. Thus, she has not suffered any ADA discrimination by the hotel and,

therefore, she has failed to state a claim under the ADA. Strojnik v. Kapalua Land Co, 2019 U.S.

Dist LEXIS 165525 (Hawaii 2019).

       WHEREFORE, defendant, Stanley Mark Daniels d/b/a The Daniels Motel, moves for the

entry of an order dismissing plaintiff’s complaint with prejudice and for such other and further

relief deemed fair and reasonable by this Honorable Court.




                                                      DREYER, FOOTE, STREIT,
                                                      FURGASON & SLOCUM

                                                      By /s/ Michael W. Huseman
                                                             Attorneys for Defendant


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                                             Page 5 of 6
     Case: 1:20-cv-03529 Document #: 17 Filed: 08/03/20 Page 6 of 6 PageID #:46




                                     PROOF OF SERVICE

I, Michael W. Huseman, an attorney, certify that pursuant to Section II, B, 4 of the Administrative
Procedures for the Case Management/Electronic Case Filing System, service of the above Motion
was accomplished through the Court's Electronic Notice for Registrants on all parties to the above
cause, through counsel identified as Registrants through the Court’s Electronic Notice for
Registrants, on the 3rd day of August, 2020.

                                                     By /s/ Michael W. Huseman



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                                           Page 6 of 6
